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                              IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                 )
                                          )
            Plaintiff/Respondent,         )
      v.                                  )                                 Case No. 08-4116-JAR
                                          )                                          02-40098-01-JAR
                                          )
CORDELL NICHOLS,                          )
                                          )
            Defendant/Petitioner.         )
__________________________________________)

                                        MEMORANDUM AND ORDER

         On October 28, 2010, this Court issued a Memorandum and Order denying petitioner

Cordell Nichols’ motion to vacate pursuant to 28 U.S.C. § 2255 (Doc. 350). This matter is now

before the Court upon Nichols’ motion for reconsideration (Doc. 391)1 as well as Motion for

Transcripts (Doc. 390).

         Local Rule 7.3(a) provides that “[p]arties seeking reconsideration of dispositive orders or

judgments must file a motion pursuant to Fed. R. Civ. P. 59(e) or 60.” Although Nichols’

motion was not filed until November 18, 2010, it was placed in the prison mailbox within

fourteen days of the Court’s order,2 and thus constitutes a motion to alter or amend under Fed. R.

Civ. P. 59(e).3 “Motions to alter or amend judgment are appropriate where they involve



         1
         Defendant simultaneously appealed the Court’s order to the Tenth Circuit Court of Appeals, which abated
the appeal pending a decision on the instant motion (Doc. 395).
         2
          See Price v. Philpot, 420 F.3d 1158, 1163-64 (10th Cir. 2005) (“The prison mailbox rule . . . holds that a
pro se prisoner's [filing] will be considered timely if given to prison officials for mailing prior to the filing deadline,
regardless of when the court itself receives the documents.”) (internal citation omitted).
         3
             United States v. Pedraza, 466 F.3d 932, 933 (10th Cir. 2006) (citation omitted).
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reconsideration of matters properly encompassed in the decision on the merits.”4 “[A] Rule

59(e) motion to alter or amend judgment is essentially a motion for reconsideration.”5

“Reconsideration is proper when there has been a manifest error of law or fact, when new

evidence has been discovered or when there has been a change in the relevant law.”6 “Thus, a

motion for reconsideration is appropriate where the court has misapprehended the facts, a party’s

position, or the controlling law.”7

       In this case, Nichols correctly points out that the Court overlooked the affidavit of

Sheneice Sanders that was submitted as an attachment to his Motion to Supplement the Record,

which the Court summarily granted. Accordingly, the Court grants Nichols’ motion for

reconsideration in part, and will address those portions of its order that are affected by Sanders’

affidavit. For the reasons explained in detail below, however, the Court does not reconsider its

ultimate determination that Nichols’ motion to vacate pursuant to § 2255 should be denied.

I.     Background

       The Court has previously summarized the procedural history and evidence at trial in its

Memorandum and Order on Nichols’ motion to vacate.8 The Court incorporates that order

herein and relies upon it by reference in ruling on the instant motion. The Court will not restate

its findings in detail, but will provide excerpts from the opinion as needed to frame its discussion

with respect to the issues on reconsideration.

       4
           Aerotech Res., Inc. v. Dodson Aviation, Inc., 191 F. Supp. 2d 1209, 1213 (D. Kan. 2002).
       5
           Id. at 1214.
       6
           Id.; see also Servants of Paraclete v. Does, 204 F.3d 1005, 1012 (10th Cir. 2000).
       7
           Servants of Paraclete, 204 F.3d at 1012.
       8
           (Doc. 350.)

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       Nichols’ motion relates to the September 2000 search of the apartment he shared with his

girlfriend, Sheneice Sanders. At the suppression hearing and at trial, respectively, Detective

William Verhaeghe and Agent David Turner testified that they sought and received consent from

Sanders to search the apartment, where they found heroin, two handguns, ammunition, and items

associated with the distribution of heroin and cash. A latent fingerprint was developed from a

grinder commonly used to grind heroin, and this print was subsequently matched to the known

fingerprints of Nichols. At trial, an expert testified that the fingerprint on the grinder was

Nichols’.

       Nichols filed a direct appeal from his conviction, arguing, among other things, that this

Court committed error when it denied his motions to suppress evidence seized during the St.

Louis traffic stop and apartment search. The Tenth Circuit affirmed, specifically holding this

Court “properly denied suppression of the evidence seized from the St. Louis apartment, which,

as indicated above, was searched with the consent of its tenant, Sheneice Sanders.”9 Nichols

also filed a second direct appeal after his resentencing, arguing, among other things, that law

enforcement unlawfully searched his residence where they found the heroin and firearms. The

Tenth Circuit held that it had already concluded in Nichols I that the search was lawful, which

was now the law of the case.10 The court further rejected Nichols’ argument that his

Confrontation Clause rights were violated by this Court’s reliance on statements attributed to

Sanders in the PSIR, and held that this Court properly found by a preponderance of the evidence




       9
           United States v. Nichols, 374 F.3d 959, 966 (10th Cir. 2004) (“Nichols I”).
       10
            United States v. Nichols, 219 F. App’x 770, 773 (10th Cir. 2007) (“Nichols II”).

                                                           3
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that the gun enhancement was warranted.11

       Nichols filed his § 2255 motion on October 6, 2008, citing numerous claims of

ineffective assistance of counsel. These claims included allegations that former counsel erred by

failing to subpoena Sanders for the suppression hearing and trial; failing to contest Sanders’

consent at the suppression hearing; and failing to object to Sanders’ statement that the guns

found in their apartment belonged to Nichols, resulting in a two-point enhancement at

sentencing. Nichols also made related allegations of prosecutorial misconduct, contending that

Sanders informed the prosecutors that her consent was not voluntary, which the government

withheld from the defense. Three months later, Nichols filed a Motion to Expand the Record,

pursuant to Rule 7 of the Rules Governing Section 2255 Proceedings, which attached an

affidavit of Sanders that he characterizes as newly discovered evidence.12 The affidavit is dated

October 28, 2008, and avers that Sanders was subpoenaed to testify as a prosecution witness at

trial in 2003, that she does not know anything about what Nichols was or was not involved in

while they were dating in 2000 or any other point in time, and that she relayed to prosecutors in

Topeka in 2003 that the St. Louis agents forced their way into her home at gunpoint and

threatened to take her to jail and take her children if she did not agree to sign a consent to search

and statement.13

II.    Discussion

       As a threshold matter, the Court notes that its denial of Nichols’ motion effectively



       11
            Id. at 774.
       12
            (Doc. 357, Ex. F.)
       13
            Id.

                                                  4
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rendered his motion to expand the record moot, as Rule 7 provides that a district judge may

expand the record if needed if the motion is not dismissed.14 Upon further consideration, the

Court amends its previous ruling and construes Nichols’ motion as seeking to supplement the

evidence attached to his motion, which it grants. Thus, the Court will include Sanders’ affidavit

as part of the record, and will limit its discussion on reconsideration to the issues raised in

Nichols’ motion that are impacted by that affidavit.

         The Court also reiterates that Nichols’ motion is based on ineffective assistance of

counsel. A successful claim of ineffective assistance of counsel must meet the two-pronged test

set forth in Strickland v. Washington.15 First, a defendant must show that his counsel’s

performance was deficient in that it “fell below an objective standard of reasonableness.”16

Second, a defendant must also show that his counsel’s deficient performance actually prejudiced

his defense.17 A defendant must demonstrate both Strickland prongs to establish a claim of

ineffective assistance of counsel, and a failure to prove either one is dispositive.18

         A.           Failure to Investigate; Contest Sanders’ Consent; Subpoena Sanders for
                      Suppression Hearing

         Nichols argues that his counsel was ineffective for failing to challenge Sanders’ consent


         14
              Rule 7(a) of the Rules Governing Section 2255 Proceedings.
         15
              466 U.S. 668 (1984).
         16
              Id. at 688.
         17
              Id. at 687.
         18
           Smith v. Robbins, 528 U.S. 259, 286 n.14 (2000) (quoting Strickland, 466 U.S. at 697) (“The performance
component need not be addressed first. ‘If it is easier to dispose of an ineffectiveness claim on the ground of lack of
sufficient prejudice, which we expect will often be so, that course should be followed.’”); see also Romano v.
Gibson, 239 F.3d 1156, 1181 (10th Cir. 2001) (“This court can affirm the denial of habeas relief on whichever
Strickland prong is the easier to resolve.”).


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to search her residence. He contends that “[t]he warrantless Search and Seizure of evidence

from the residence of Cordell Nichols and Sheneice was conducted without consent, and violated

the 4th Amendment.” Nichols claims that the agents “did forcefully coerce Ms. Sheneice

Sanders to open the door and put a gun to her in a threatening manner to coerce her to allow

them to search,” and lied to her by “[s]tating they were investigating a ‘murder’ and implying the

death of Cordell Nichols.” In support of this claim, Nichols attaches an affidavit from Damon

Campbell, dated October 20, 2004, as well as the aforementioned Sanders affidavit. Intertwined

with this claim are Nichols’ additional arguments that counsel failed to investigate Sanders or

subpoena her as a witness for the suppression hearing.

         Generally, when a claim of ineffective assistance of counsel is brought because of the

failure to raise an issue, courts consider the merits of the issue itself.19 If the omitted issue is

meritless, then the defendant has not met his burden to prove the error was prejudicial.

Additionally, failure to raise a meritless issue does not constitute deficient performance.20

Nichols’ claim, however, is based on what he characterizes as newly discovered evidence that

Sanders’ consent was not voluntary, and had Chappas only interviewed Sanders, he would have

discovered she was forced to consent to the search, which in turn, should have resulted in

Chappas contesting her consent. This argument is more like an argument presented as part of a




         19
              United States v. Orange, 447 F.3d 792, 797 (10th Cir. 2006).
         20
            Sperry v. McKune, 445 F.3d 1268, 1275 (10th Cir. 2006) (stating that if an issue is meritless, not raising
the issue is not deficient performance); see also Miller v. Mullin, 354 F.3d 1288, 1298 (10th Cir. 2004) (stating that
when an issue has some merit but is not compelling, counsel’s decision not to raise the issue is given deference by
the court).

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new trial motion, and is not properly presented as a § 2255 motion.21 Even considered as a

motion for new trial, this argument falls short.

         A five-part test must be applied in determining whether this “newly discovered evidence”

warrants a new trial. A defendant must show (1) the evidence was discovered after trial, (2) the

failure to learn of the evidence was not caused by his own lack of diligence, (3) the new

evidence is not merely impeaching, (4) the new evidence is material to the principal issues

involved, and (5) the new evidence is of such a nature that in a new trial it would probably

produce an acquittal.22

         The Court previously addressed and rejected Campbell’s representation. Likewise, little

basis exists to credit Sanders’ affidavit, which consists in large part of hearsay, specifically, that

the agents and officers that conducted the search threatened to take her to jail and take away her

children if she did not agree to sign a consent.23 A district court is not required to consider

hearsay statements in § 2255 actions and may, in its discretion, decline to consider them

altogether.24 Sanders’ affidavit does not fall within a firmly rooted hearsay exception, and is

thus considered unreliable unless it bears particularized guarantees of trustworthiness.25

Sanders’ affidavit bears no such guarantees. The affidavit was executed on October 28, 2008,

         21
          United States v. McElhiney, No. 98-40083-RDR, 2006 WL 516879, at *4 (D. Kan. Mar. 2, 2006) (citing
Guinan v. United States, 6 F.3d 468, 470 (7th Cir. 1993)). Fed. R. Civ. P. 33 requires a motion for new trial based
on newly discovered evidence be made within three years of the verdict or finding of guilty.
         22
          United States v. Holly, 378 F. App’x 852, 853 (10th Cir. 2010) (citing United States v. Quintanilla, 193
F.3d 1139, 1147(10th Cir. 1999)).
         23
           See Fed. R. Evid. 801(c) (defining hearsay as “a statement, other than one made by the declarant while
testifying at the trial or hearing, offered in evidence to prove the truth of the matter asserted”).
         24
           See United States v. Rith, 171 F. App’x 228, 232 (10th Cir. 2006); Neil v. Gibson, 278 F.3d 1044, 1056
(10th Cir. 2001).
         25
              See Paxton v. Ward, 199 F.3d 1197, 1211 (10th Cir. 1999).

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eight years after the date of the search of her residence in September 2000. Nichols does not

offer any explanation as to why Sanders waited until now to make her statements. The affidavit

was also prepared after Nichols’ filed his § 2255 motion on October 6, 2008, and bears the same

typeface and font size as the motion to which it is attached that was prepared by Nichols.

Moreover, Sanders’ purported signature is illegible and there is no authentication on the

signature page. Accordingly, Sanders’ affidavit lacks sufficient guarantees of trustworthiness to

warrant this Court giving it any weight or credit.

         Even if credible, Nichols has not demonstrated the evidence in Sanders’ affidavit was not

discovered until after trial. Nichols claim is belied by Chappas’ cross-examination of Detective

Verhaeghe at the suppression hearing, where he questioned him about details of the search that

coincide with Nichols’ current claims and representations in Sanders’ affidavit. Specifically,

Chappas cross-examined Verhaeghe about the search of the St. Louis apartment, asking if

Sanders was handcuffed, whether her children were present, and if she was coerced into giving

her consent.26 Verhaeghe credibly answered no to each question.27 Nichols’ claim that this

evidence is newly discovered is further belied by his own cross-examination of Agent Turner at

trial, where he asked Turner if he coerced Sanders into consenting to the search.28 Thus,

Nichols’ claim that he only discovered this new evidence by October 28, 2008, when Sanders

executed the affidavit, is not supported by the record.


         26
              (Doc. 175 at 83.)
         27
              Id.
         28
          Id. at 326 (“Q. I’m saying was there any coercion in this consent? A. Oh. No, Sir.”). Moreover, even if
Nichols did not know of the evidence at trial, he apparently knew of this potential evidence as of October 20, 2004,
when he submitted Campbell’s affidavit executed that date, wherein Campbell declared he took the agents to
Sanders’ apartment and witnessed them handcuff her, opining that her consent was coerced. (Doc. 350, Ex. C).

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       Further, even assuming counsel should have challenged Sanders’ consent and she had

testified at the suppression hearing consistent with her affidavit, no basis exists to conclude that

this Court would have found her credible, or that the result of the motion hearing would have

been different. The Court is in the unique position of having already held a hearing in this case

that revealed evidence directly relevant to the instant § 2255 motion. The Court observed

Verhaeghe at the motions hearing and found his testimony credible. Accordingly, Nichols offers

no plausible scenario for this Court to find that his counsel was deficient for failing to challenge

the consent, or that he was prejudiced by such failure.

       B.      Failure to Subpoena Sanders at Trial

       Nichols argues that Chappas should have interviewed Sanders before trial “to ascertain

the reliability of evidence to be used from the Search of the residence by the government in it[]s

Case in Chief against Cordell Nichols.” Even considering Sanders’ affidavit, this claim is

without merit. Assuming counsel was deficient in failing to subpoena Sanders as a trial witness,

Nichols cannot show that he was prejudiced by any such denial. In fact, he could not have been

prejudiced because the voluntariness of Sanders’ consent was an irrelevant issue in Nichols’

trial. The voluntariness of Sanders’ consent could only have been relevant to Nichols’ motion to

suppress the evidence recovered from Sanders’ residence, and, as previously discussed, this

Court denied such motion before the trial. In contrast, at trial the voluntariness of Sanders’

consent was irrelevant because this Court had already determined that the evidence found in the

search of her apartment was admissible. Accordingly, this claim also fails.

       C.      Prosecutorial Misconduct

       Similarly, Nichols claims that the government withheld information that Sanders


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informed prosecutors in 2003 that her consent was not voluntary.29 Nichols appears to claim that

this constitutes a Brady violation, and that counsel was ineffective for failing to discover or

object to this prosecutorial misconduct.

       As discussed in this Court’s previous order with respect to Nichols’ claim of misconduct

regarding Trooper Weigel’s testimony, to establish a Brady violation, a habeas petitioner must

demonstrate: (1) the evidence at issue is favorable to him because it is exculpatory or

impeaching; (2) the government suppressed the evidence; and (3) prejudice ensued from the

suppression, i.e., the suppressed evidence was material to guilt or punishment.30 Assuming that

Sanders’ affidavit is correct, and she did inform the prosecution that her consent was not

voluntary, the Court finds that such evidence is at best, merely impeaching, and would not

produce an acquittal. Moreover, assuming the government withheld this information, it did not

violate Brady because the evidence is insufficient to constitute material evidence, as the Court is

convinced that there is no reasonable probability this evidence would have affected the outcome

of his trial. While the allegedly suppressed evidence would certainly be impeaching, it in no

way rises to the level of exculpatory evidence, which is defined as evidence that is material to

the issue of guilt or innocence.31 Both Verhaeghe and Turner testified credibly at the

suppression hearing and trial, respectively, that Sander’s consent was voluntary,32 as affirmed

twice by the Tenth Circuit. Suppressed impeachment evidence has little probative value if



       29
            Id. at 16.
       30
            Strickler v. Greene, 527 U.S. 263, 281-82 (1999).
       31
            United States v. Bagley , 473 U.S. 667, 676 (1985).
       32
            See Doc. 176 at 83 (Verhaeghe); Doc. 235 at 276, 326 (Turner).

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additional evidence strongly corroborates the witness’s testimony the suppressed evidence might

have impeached.33 Accordingly, the Court’s finding forecloses any success on the second

Strickland prong relating to prejudice, and this claim fails.

        D.           Firearm Enhancement

        At Nichols’ September 2003 resentencing, the Court imposed a two-level enhancement

for possession of a firearm, which was found in Nichols’ St. Louis apartment along with the

heroin, and which Sanders identified as belonging to Nichols. The Court incorporates its

findings set forth above with respect to Sanders’ affidavit to the extent they apply to any claim of

ineffectiveness regarding sentencing, and would only add that Sanders’ affidavit does not state

that the firearm and heroin did not belong to Nichols, but only that she does “not know anything

about what Cordell R. Nichols was or was not involved in back then at our time of dating.” This

claim is also denied.

III.    Motion for Transcripts

        Along with his motion for reconsideration, Nichols requests copies of transcripts of voir

dire and jury selection at his May 2003 trial. “Under 28 U.S.C. § 753(f), an indigent defendant

is entitled to have the government pay the fees for a copy of his transcript in a § 2255 proceeding

only if he demonstrates that his suit is not frivolous and that the transcript is needed to decide the

issue presented by the suit.”34 This standard must be met, whether or not the transcripts already

exist.35 Although transcripts were prepared for Nichols’ direct appeals, it does not appear that



        33
             See Strickler v. Greene, 527 U.S. 263, 292-94 (1999).
        34
             Sistrunk v. United States, 922 F.2d 258, 259 (10th Cir. 1993).
        35
             Id. at 260.

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counsel requested transcripts from either voir dire or jury selection. In any event, Nichols fails

to demonstrate how these materials relate to his specific claims in his § 2255 motion. “A

prisoner does not have a right to a free transcript simply to search for error in the record.”36

Thus, Nichols’ motion is denied.

IV.        Certificate of Appealability

           Effective December 1, 2009, Rule 11 of the Rules Governing Section 2255 Proceedings

requires the Court to grant or deny a certificate of appealability (“COA”) when making a ruling

adverse to the petitioner. “A certificate of appealability may issue . . . only if the applicant has

made a substantial showing of the denial of a constitutional right.”37 A petitioner may satisfy his

burden only if “reasonable jurists would find the district court’s assessment of the constitutional

claims debatable or wrong.”38 A petitioner is not required to demonstrate that his appeal will

succeed to be entitled to a COA. He must, however, “prove something more than the absence of

frivolity or the existence of mere good faith.”39 “This threshold inquiry does not require full

consideration of the factual or legal bases adduced in support of the claims. In fact, the statute

forbids it.”40 For the reasons detailed in this Memorandum and Order, Nichols has not made a

substantial showing of the denial of a constitutional right, and the Court denies a COA as to its



           36
          United States v. Adams, Case No. 05-20084-KHV, 2007 WL 1302543, at *1 (D. Kan. May 3, 2007)
(citing Ruark v.Gunter, 958 F.2d 318, 319 (10th Cir. 1992)).
           37
            28 U.S.C. § 2253(c)(2). The denial of a § 2255 motion is not appealable unless a circuit justice or a
circuit or district judge issues a certificate of appealability. See Fed. R. App. P. 22(b)(1); 28 U.S.C. § 2253(c)(1).
           38
                Saiz v. Ortiz, 393 F.3d 1166, 1171 n.3 (10th Cir. 2004) (quoting Tennard v. Dretke, 524 U.S. 274, 282
(2004)).
           39
                Miller-El v. Cockrell, 537 U.S. 322, 338 (2003).
           40
                Id. at 336; see also United States v. Silva, 430 F.3d 1096, 1100 (10th Cir. 2005).

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ruling on reconsideration of his § 2255 motion.

       IT IS THEREFORE ORDERED BY THE COURT that petitioner Nichols’ motion for

reconsideration (Doc. 391) is granted to the extent the Court considers the affidavit of Sheneice

Sanders as part of the record, and denied with respect to the claims impacted by that affidavit;

Nichols is also denied a COA.

       IT IS FURTHER ORDERED that Nichol’s Motion for Transcripts (Doc. 390) is

denied.

       IT IS SO ORDERED.



Dated: March 1, 2011
                                                        S/ Julie A. Robinson
                                                       JULIE A. ROBINSON
                                                       UNITED STATES DISTRICT JUDGE




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